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              Exhibit 15
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      December18,2020




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                                    the presidential election in a small Michigan county                    Make a
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                                    handful of additional votes for President Donald                        gift by
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      Election2020                  Trump padded his Antrim County victory ,vith     11                          Donate Now

      JoeBiden                      more votes, while Joe Biden lost one. The
      DonaldTrump
      Michigan
                                    Republican county in the northern Lower Peninsula
                                    has been under intense scrutiny since the Nov. 3
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      Elections
                                    election when initial results showed a local victory
                                    for Biden.
      JocelynBenson                                                                                       TrendingonAP News
      Voting machines               It was attributed to human e1Tor,not any problems
      Voting                        with voting machines, and corrected. But a judge
      Electionrecounts              still took the extraordinary step of allo,_.inga
      Presidentialelections         resident to take forensic images of election
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      JoeBiden                                                                                            dies; COVIDsuspected
                                 the facts: Dominion's voting machines accurately
      DonaldTrump
                                 tabulated the votes cast for president in Antrim
      Michigan
                                 County," said Secretary of State Jocelyn Benson.
      Elections
      JocelynBenson              "It is time for the disinformation campaigns to stop,
      Voting machines            and for elected and other leaders on both sides of
      Voting                     the aisle to unequivocally affi1m that the election
      Electionrecounts           was sectue and accurate," Benson said,
      Presidentialelections      Eiden lost Antrim County but won Michigan by
                                 154,000    votes.                                                        Nashville man'sgirlfriend warned he was
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